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IN THE UNITED STATES DISTRICT COURT
FOR THE EASTERN DISTRICT OF VIRGINIA

APPLICATION TO QUALIFY AS A FOREIGN ATTORNEY UNDER LOCAL CIVIL RULE 83.1(D) AND LOCAL
CRIMINAL RULE 57.4
In Case Number 18-1405 , Case Name Quinteros v. Burlington Coat Factory et al.

Party Represented by Applicant: Plaintiff
To: The Honorable Judges of the United States District Court for the Eastern District of Virginia
PERSONAL STATEMENT

FULL NAME (no initials, please) Jennessa Calvo-Friedman
Bar Identification Number State New York
Firm Name American Civil Liberties Union Foundation

Firm Phone # 646-885-8347 Direct Dial # 646-885-8347 FAX # 313-549-2650
E-Mail Address jcalvo-friedman@aclu.org
Office Mailing Address 125 Broad Street, 18th floor, New York, NY, 10004

 

Name(s) of federal court(s) in which I have been admitted See attached.

I certify that the rules of the federal court in the district in which I maintain my office extend a similar pro hac vice admission
privilege to members of the bar of the Easter District of Virginia.

I have not been reprimanded in any court nor has there been any action in any court pertaining to my conduct or fitness as a
member of the bar.

I hereby certify that, within nmety (90) days before the submission of this application, | have read the Local Rules of this Court
and that my knowledge of the Federal Rules of Civil Provedure, the Federal Rules of Criminal Procedure, and the Federal Rules of
Evidence is current.

n from the admission fee.

   
  

lam amriot ™ a full-time employce of the United States of America, and if so, request ¢

 

‘Applicant’s Signature)
I, the undersigned, do certify that ] am a member of the bar of this Court, not related to the applicant; that | know the applicant

personally, that the said applicant possesses all of the qualifications required for admission to the bar of this Court; that ] have
examined the applicant’s personal statement. | affirm that his/her personal and professional character and standing are good, and

petition the court to admit the applicant pro fac “LL. 2 J

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(Typed or Printed Name) (VA Bar Number)
Court Use Only:
Clerk’s Fee Paid or Exemption Granted
The motion for admission is GRANTED or DENIED

 

 

(Judge’s Signature) (Date)
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IN THE UNITED STATES DISTRICT COURT
FOR THE EASTERN DISTRICT OF VIRGINIA

In the Matter of Jennesa Calvo-Friedman Pro Hac Vice Application
Name(s) of federal court(s) in which I have been admitted:

Court Date Admitted
U.S. District Court for the Eastern District of Wisconsin March 30, 2018

U.S. District Court for the Southern District of New York March 4, 2019
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Appellate Division of the Supreme Court
of the State of Pew Work

First Judtcial Bepartment

J, Susanna Rojas, Clerk of the Appellate Division of
the Supreme Court of the State of Pew Work, Hirst Pudicial
Bepartiment, certify that

JENNESA NATALIA CALVO-FRIEDMAN

was dulp licensed and admitted to practice ag an Attorney and
Counsellor at Law in all the courts of the State of Jew Work on
Slap 11, 2015, has dulp taken and subscribed the oath of office
prescribed by law, has been enrolled tn the Roll of Attorneys and
Counsellors at Latw on file tn mp office, bas duly registered with
the administrative office of the courts, and according to the records
of this court ts tn good standing as an attorney and counsellor at
lato.

Sn Witness hereof, J have hereunto set mp
hand and affixed the seal of this court on

flap 10; 2019

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Co Vv

Clerk of the Court
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CERTIFICATE OF SERVICE

I hereby certify that on the 14"" day of May, 2019, I electronically filed the foregoing
with the Clerk of Court using the CM/ECF system, which will send a notification of such filing
(NEF) to the following:

Jaclyn L. Hamlin, Esq.

James J. Murphy, Esq.

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Counsel for Defendants, Burlington Coat Factory
Warehouse Corporation and Angela Faith Buhite

/s/ CARLA D. BROWN
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